       Case 2:07-cr-00268-TLN Document 141 Filed 12/08/15 Page 1 of 3



1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    HANNAH R. LABAREE, Bar #294338
     Assistant Federal Defender
3    Counsel Designated for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6    Attorneys for Defendant
     ELISEO GOMEZ
7
8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            No. 2:07-cr-00268 TLN
12
                               Plaintiff,                 STIPULATED MOTION AND ORDER TO
13                                                        REDUCE SENTENCE PURSUANT TO 18
               v.                                         U.S.C. § 3582(c)(2)
14
     ELISEO GOMEZ,                                        RETROACTIVE DRUGS-MINUS-TWO
15                                                        REDUCTION CASE
                               Defendant.
16                                                        Judge: Honorable TROY L. NUNLEY

17             Defendant, ELISEO GOMEZ, by and through his attorney, Assistant Federal Defender
18   Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel,
19   Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On June 28, 2010, this Court sentenced Mr. Gomez to a term of 188 months

25   imprisonment;

26             3.         His total offense level was 35, his criminal history category was II, and the

27   resulting guideline range was 188 to 235 months;

28

     Stipulation and Order Re: Sentence Reduction           1
       Case 2:07-cr-00268-TLN Document 141 Filed 12/08/15 Page 2 of 3



1              4.         The sentencing range applicable to Mr. Gomez was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Gomez’ total offense level has been reduced from 35 to 33, and his amended
5    guideline range is 151 to 188 months;
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Gomez’ term of imprisonment to a total term of 151 months. The parties agree that
8    the requested sentence is fair and appropriate pursuant to 18 U.S.C. § 3553(a).
9    Respectfully submitted,
10   Dated: December 7, 2015                            Dated: December 7, 2015
11   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
12
13    /s/Jason Hitt                                     /s/ Hannah Labaree_ _
     JASON HITT                                         HANNAH R. LABAREE
14   Assistant U.S. Attorney                            Assistant Federal Defender
15   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           ELISEO GOMEZ
16
17
18
19
20
21
22
23
24
25
26
27
28

     Stipulation and Order Re: Sentence Reduction          2
       Case 2:07-cr-00268-TLN Document 141 Filed 12/08/15 Page 3 of 3



1                                                   ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Gomez is entitled to the benefit
5    Amendment 782, which reduces the total offense level from 33 to 31, resulting in an amended
6    guideline range of 151 to 188 months.
7              IT IS HEREBY ORDERED that the term of imprisonment imposed in June 2010 is
8    reduced to a term of 151 months, a sentence that is fair and reasonable pursuant to 18 U.S.C. §
9    3553(a).
10             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
11   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
12   reduction in sentence, and shall serve certified copies of the amended judgment on the United
13   States Bureau of Prisons and the United States Probation Office.
14             Unless otherwise ordered, Mr. Gomez shall report to the United States Probation Office
15   within seventy-two hours after his release.
16   Dated: December 7, 2015
17
18
                                                              Troy L. Nunley
19                                                            United States District Judge
20
21
22
23
24
25
26
27
28

     Stipulation and Order Re: Sentence Reduction       3
